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                                      U^.Department of Justice

                                      UnitedStates Attorn^
                                      District ofNew Jersey
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                                                September 6,2016

Timothy Donohue, Esq.
Arleo & Donohue, LLC
622 Eagle Rock Ave.
West Orange, New Jersey 07052

             Re- Plea Agreement with Jlamine Wang a/k/a "Celine Wane^
Dear Mr. Donohue:

             This letter sets forth the plea agreement between your client,
Jiaming Wang,and the United States Attorney for the District of New Jersey
I this Office"). The offer contained in this letter will expire if not accepted by
Jiaming Wang on or before September 20,2016.
Charge


             Conditioned on the understandings specified below, this Office will
accept a guilty plea from Jiaming Wang to a one-count Information that
charges her with conspiracy to commit visa fraud, contrary to Title 18, United
States Code,Section 1546(a), in violation of Title 18, United States Code,
Section 371. If Jiaming Wang enters a guilty plea and is sentenced on this
charge and otherwise fully complies with all of the terms of this agreement,
then this Office will not initiate any further criminal charges against Jiaming
Wang for the criminal activities committed from in or about May 2014 through
in or about M^ch 2016,in Union County, New Jersey, and elsewhere, as more
fully set forth in the criminal complaint filed against her in this District under
Magistrate No. 16-6038. However, in the event that a guilty plea in this matter
is not entered for any reason or thejudgment of conviction entered as a result
of this guilty plea does not remain in full force and effect, Jiaming Wang agrees
that any dismissed charges and any other charges that are not time-barred by
the applicable statute of limitations on the date this agreement is signed by
Jiaming Wang may be commenced against her, notwithstanding the expiration
of the limitations period alter Jiaming Wang signs the agreement.
Sentencing


             The violation of Title 18, United States Code, Section 371 to which
Jiaming Wang agrees to plead guilty carries a statutory maximum prison
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 sentence of5 years* imprisonment and a statutory maximum fine equsd to the
greatest of: (1)$250,000;(2) twice the gross amount of any pecuniaiy gain
that any persons derived from the offense; or (3) twice the gross amount of any
pecuniaiy loss sustained by any victims of the offense.

             The sentence to be imposed upon Jiaming Wang is within the sole
discretion of the sentencingjudge, subject to the provisions of the Sentencing
Reform Act,Title 18, United States Code, Sections 3551-3742, and the
sentencing judge's consideration of the United States Sentencing Guidelines.
The United States Sentencing Guidelines are advisoiy, not mandatoiy. The
sentencing judge may impose any reasonable sentence up to and including the
statutory maximum term of imprisonment and.the maximum statutory fine.
This Office cannot and does not make any representation or promise as to what
guideline range may be found by the sentencing judge, or as to what sentence
Jiaming Wang ultimately will receive.

             Further, in addition to imposing any other penally on Jiaming
Wang,the sentencingjudge:(1) pursuant to 18 U.S.C.§ 3013, will order
Jiaming Wang to pay an assessment of$100, which assessment must be paid
by the date of sentencing;(2) pursuant to 18 U.S.C.§ 3663 et seq., may order
Jiaming Wang to pay restitution; and (3) pursuant to 18 U.S.C.§ 3583, may
require Jiaming Wang to serve a term of supervised release of not more than
three years, which term of supervised release will begin at the expiration of any
term of imprisonment imposed. Should Jiaming Wang be placed on a term of
supervised release and subsequently violate any of the conditions of supervised
release before the expiration of its term, Jiaming Wang may be sentenced to
not more than two years'imprisonment in addition to any prison term
previously imposed, regardless of the statutory maximum term of
imprisonment set forth above and vdthout credit for time previously served on
post-release supervision, and may be sentenced to an additional term of
sup}ervised release.

Rights of This Office Regarding Sentencing

            Except as otherwise provided in this agreement, this Office
reserves its right to take any position with respect to the appropriate sentence
to be imposed on Jiaming Wang by the sentencing judge, to correct any
misstatements relating to the sentencing proceedings, and to provide the
^ntencing judge and the United States Probation Office all law and
information relevant to sentencing, favorable or otherwise. In addition, this
Office may inform the sentencing judge and the United States Probation Office
of: (p this agreement; and (2)the full nature and extent ofJiaming Wang's
activities and relevant conduct with respect to this case.

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 Stipulations


             This Office and Jiaming Wang agree to stipulate at sentencing to
the statements set forth in the attached Schedule A, which hereby is made a
part of this plea agreement. This agreement to stipulate, however,cannot and
does not bind the sentencing judge, who may make independent factual
findings and may reject any or all of the stipulations entered into by the
parties. To the extent that the parties do not stipulate to a particular fact or
legal conclusion, each rescues the right to argue the existence of and the effect
of any such fact or conclusion upon the sentence. Moreover, this agreement to
stipulate on the part of this Office is based on the information and evidence
that this Cilice possesses as of the date of this agreement. Thus, if this Ofiice
obtains or receives additional evidence or information prior to sentencing that
it determines to be credible and to be materially in conflict with any stipulation
in^ the attached Schedule A, this Ofiice shall not be bound by any such
stipulation. A determination that any stipulation is not binding shall not
release either this Office or Jiaming Wang from suiy other portion of this
agreement, including any other stipulation. If the sentencing court rejects a
stipulation, both p^es reserve the right to argue on appeal or at post-
sentencing proceedings that the sentencing court was within its discretion and
authority to do so. These stipulations do not restrict this Office's right to
respond to questions from the Court and to correct misinformation that has
been provided to the Court.

Waiver of Appeal and Post-Sentencing Rights

             As set forth in Schedule A, this Office and Jiaming Wang waive
certain rights to file an appeal, collateral attack, writ, or motion after
sentencing, including but not limited to an appeal under Title 18, United States
Code, Section 3742 or a motion under Title 28, United States Code. Section
2255.

Forfeiture

            As part of his acceptance of responsibility, and pursuant to 18
U.S.C.§ 982(a)(6)(a)(ii)(l), Jiaining Wang agrees to forfeit to the United States all
of his right, title and interest in the following specific property, which Jiaming
Wang admits has the requisite nexus to the offense to which the defendant has
agreed to plead guilty and is therefore forfeitable to the United States of
America pursuant to 18 U.S.C.§ 982(a)(6)(a)(ii)(l): the amount of$800(U.S.
currency) seized by law enforcement officials pursuant to a court-authorized
search warrant executed on April 5,2016(the ^'Specific Proper^).


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            Jiaming Wang admits that the Specific Property represents
property constituting or derived, directly and indirect^, from proceeds
traceable to the commission of the offenses contraiy to 18 U.S.C.§ 1546(a), in
violation of 18 U.S.C.§ 371,as charged in the Information (an offense
constituting specified unlawful activity as defined in 18 U.S.C.§ 1956(c)(7)).
              Jiaming Wang hereby consents to the entry of a Preliminary Order
of Forfeiture as to the Specific Property, pursuant to Rule 32.2(b) of the Federal
Rules of Criminal Procedure. Jiaming Wang further consents to the
administrative and/or civil judicied forfeiture of the Specific Property pursuant
to 18 U.S.C.§ 982(a)(6)(a)(ii)(I). Jiaming Wang agrees that she will not file a
claim or a petition for remission or mitigation in any forfeiture proceeding
involving the Specific Property and will not cause or assist anyone else in doing
so. To^ the extent Jiaming Wang has filed a claim or petition in any
administrative or civil judicial forfeiture proceeding involving the Specific
Property, such claims or petitions are hereby deemed withdrawn. Jiaming
Wang further agrees to take all necessaiy steps to pass clear title to the
Specific Property to the United States, including, but not limited to, the
surrender of such property to the Government and the execution of necessary
documentation.

             Jiaming Wang further waives the requirements of Rules 32.2 and
43(a) of the Federal Rules of Criminal Procedure regarding notice of the
forfeiture in the charging instrument, announcement of the forfeiture at
sentencing, and incorporation of the forfeiture in the judgment. Pursuant to
Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, Jiaming Wang
consents to the entiy ofjudgment of forfeiture that will be final as to Jiaming
Wang prior to sentencing. Jiaming Wang understands that criminal forfeiture
pursuant to 21 U.S.C.§ 853 is part of the sentence that may be imposed in
this case and waives any failure by the court to advise her of this pursuant to
Rule 1 l(b)(l)(J) of the Federal Rules of Criminal Procedure at the guilty plea
proceeding. It is further understood that any forfeiture of Jiaming Wang's
assets shall not be treated as satisfaction of any fine, restitution, cost of
imprisonment, or any other penalty the Court may impose upon her in addition
to forfeiture. Jiaming Wang hereby waives any and all claims that this
forfeiture constitutes an excessive fine and agrees that this forfeiture does not
violate the Eighth Amendment.

            Jiaming Wang further agrees that not later than the date she
enters her plea of guilty she will provide a complete and accurate Financial
Disclosure Statement on the form provided by this Office. If Jiaming Wang
fails to provide a complete and accurate Financial Disclosure Statement by the
date she enters his plea of guilty, or if this Office determines that Jiaming
Wang has intentionedly failed to disclose assets on his Financial Disclosure
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statement, Jiaming Wang agrees that that failure constitutes a materied breach
of this agreement, and this Office reserves the right, regardless of any
agreement or stipulation that might otherwise apply, to oppose any downward
adjustment for acceptance of responsibility pursuant to U.S.S.G.§ 3E1.1 and
to seek leave of the Court to withdraw from this agreement or seek other relief.
In addition, Jiaming Wang consents to the administrative, civil, and/or
criminal forfeiture of his interests in any assets that she failed to disclose on
the Financial Disclosure Statement. Should undisclosed assets that the
defendant owns or in which the defendant has an interest be discovered,
Jiaming Wang knowingly and voluntarily waives her right to any required
notice concerning the forfeiture of those assets and agrees to execute any
documents necessaiy to effectuate the forfeiture of those assets.

Rights of This OlHce Regarding Post-Sentencing Proceedings

             This Office specifically reserves the right to file, oppose, or take any
position in any appeal, collateral attack, or proceeding involving post-
sentencing motions or writs.

Immigration Conseouences

            Jiaming Wang understands that, if she is not a citizen of the
United States, her guilty plea to the charged offense will likely result in her
being subject to immigration proceedings and removed from the United States
by making her deportable, excludable, or inadmissible, or ending her
naturalization. Jiaming Wang understands that the immigration consequences
of this plea will be imposed in a separate proceeding before the immigration
authorities. Jiaming Wang wants and agrees to plead guilty to the charged
offense regardless of any immigration consequences of this plea, even if this
plea will cause her removal from the United States. Jiaming Wang
understands that she is bound by her guilty plea regardless ofany immigration
consequences of the plea. Accordingly,Jiaming Wang waives any and all
challenges to her guilty plea and to her sentence based on any immigration
consequences, and agrees not to seek to withdraw her guilty plea,or to file a
direct appeal or any kind of collateral attack challenging her guilty plea,
conviction, or sentence, based on any immigration consequences of her guilty
plea.

Other Provisions

            This agreement is limited to the United States Attorney's Office for
the District of New Jersey and cannot bind other federal, state, or local
authorities. However, this Office will bring this agreement to the attention of
other prosecuting offices, if requested to do so.
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             This agreement was reached without regard to any civil or
administrative matters that may be pending or commenced in the future
against Jiaming Wang. This agreement does not prohibit the United States,
any agency thereof(including the Internal Revenue Service) or any third party
from initiating or prosecuting any civil or administrative proceeding against
Jiaming Wang.

            No provision of this agreement shall preclude Jiaming Wang from
pursuing in an appropriate forum, when permitted by law, an appeal, collateral
attack, writ, or motion claiming that Jiaming Wang received constitutionally
ineffective assistance of counsel.

No Other Promises


            This agreement constitutes the plea agreement between Jiaming
Wang and this Office and supersedes any previous agreements between them.
No additional promises, agreements, or conditions have been made or will be
made unless set forth in writing and signed by the parties.

                                           Very truly yours,

                                           PAUL^. FISHMAN
                                           Unitofiifetatcs Attorney


                                                  inis C. Carletta
                                           As^stant U.S. Attorney
APPROVE




Anthony Moscato
Chief, National Security Unit




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            I have received this letter from my attorney, Timothy Donohue,
Esq. I have read it, and/or it has been translated for me in my native
language. My attorney and I have discussed it and all of its provisions,
including those addressing the charge, sentencing, stipulations, and
immigration consequences. I understand this letter fully. I hereby accept its
terms and conditions and acknowledge that it constitutes the plea agreement
between the parties. I understand that no additional promises, agreements, or
conditions have been made or will be made unless set forth in writing and
signed by the parties. I want to plead guilty pursuant to this plea agreement.
AGREED AND ACCEPTED:




Jiaming Wang


             I have discussed with my client this plea agreement and all of its
provisions, including those addressing the charge, sentencing, stipulations,
and immigration consequences. My client understands this plea agreement
fully and wants to plead guilty pursuant to it.



                                            Date:
Timothy'^Donohue, Esq.




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                       Pica Agreement With Jiaming Wanig

                                    Schedule A

            1. This Office and Jiaming Wang recognize that the United States
Sentencing Guidelines are not binding upon the Court. This Office and
Jiaming Wang nevertheless agree to the stipulations set forth herein, and agree
that the Court should sentence Jiaming Wang within the Guidelines range that
results from the total Guidelines offense level set forth below. This Office and
Jiaming Wang further agree that neither party will aigue for the imposition of a
sentence outside the Guidelines range that results from the agreed total
Guidelines offense level.

             2. The version of the United States Sentencing Guidelines
effective on the date of sentencing applies in this case.
The Offense Conduct

             3. The applicable guideline is U.S.S.G.§ 2X1.1 (Attempt,
Solicitation, or Conspiracy). Under U.S.S.G.§ 2X1.1, the base offense level for
any conspiracy is the base offense level from the guideline for the substantive
offense, plus any adjustments from such guideline for any intended offense
conduct that can be established with reasonable certainty. Jiaming Wang and
her co-conspirators completed all the acts the conspirators believed necessaiy
on their part for the successful completion of the substantive offense. See
U.S.S.G. §2X1.1(b)(2).
            4. The substantive oflense is a violation of 18 U.S.C.§ 1546(a),
and the applicable guideline for that offense is U.S.S.G.§ 2L2.1. Pursuant to
U.S.S.G.§ 2L2.1(a), the base offense level is 11.

             5. The parties agree that the offense was committed for profit and
that the defendant conspired to knowingly use, attempted to use, possessed,
obtained, accepted or received approximately 111 documents proscribed by
statute or regulation for entiy into or as evidence of authorized stay or
employment in the United States, knowing that said documents were forged,
counterfeited, altered, falsely made,to have been procured by means of false
claim or statement, or otherwise procured by fraud or unlawfully obtained.
Ihirsuant to U.S.S.G. § 2L2.1(b)(2)(B), specific offense characteristic results in a
9-level increase from the base offense level of 11.




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Acceptance of Responsibility

             6. As of the date of this letter, Jiaming Wang has clearly
demonstrated a recognition and affirmative acceptance of personal
responsibility for the offense charged. Therefore, a downward adjustment of 2
levels for acceptance of responsibility is appropriate if Jiaming Wang's
acceptance of responsibility continues through the date of sentencing. See
U.S.S.G.§3El.l(a).

             7. As of the date of this letter, Jiaming Wang has assisted
authorities in the investigation or prosecution of her own misconduct by timely
notifying authorities of her intention to enter a plea of guilty, thereby
permitting this Office to avoid preparing for trial and permitting this Office and
the court to allocate their resources efficiently. At sentencing, this Office will
move for a further 1-point reduction in Jiaming Wang's offense level pursuant
to U.S.S.G.§ 3El.l(b) if the following conditions are met: (a) Jiaming Wang
enters a plea pursuant to this agreement,|b) this Office in its discretion
determines that Jiaming Wang's acceptance of responsibility has continued
through the date of sentencing and Jiaming Wang therefore qualifies for a 2-
point reduction for acceptance of responsibility pursuant to U.S.S.G.§
3E1.1(a), and (c) Jiaming Wang's offense level under the Guidelines prior to the
operation of§ 3El.l(a)is 16 or greater.
Calculation of the Total Offense Level

            8. In accordance with the above, the parties agree that the total
Guidelines offense level applicable to Jiaming Wang is 17.
            9. The parties agree not to seek or argue for any upward or
downward departure, adjustment or variance not set forth herein. The parties
further agree that a sentence within the Guidelines range that results from the
agreed total Guidelines offense level is reasonable.

Waiver of Appellate Rights

             10* Jiaming Wang knows that she has and, except as noted below
in this paragraph, voluntarily waives, the right to file any appeal, any collateral
attack, or any other writ or motion, including but not limited to an appeal
under 18 U.S.C.§ 3742 or a motion under 28 U.S.C.§ 2255, which challenges
the sentence imposed by the sentencing court if that sentence falls within or
below the Guidelines range that results from the agreed total Guidelines
offense level of 17. This Office will not file any appeal, motion,or writ which
challenges the sentence imposed by the sentencing court if that sentence falls
within or above the Guidelines range that results from the agreed total
Guidelines offense level of 17. The parties reserve any right they may have
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under 18 U.S.C,§ 3742 to appeal the sentencing court's determination of the
criminal histoiy categoiy. The provisions of this paragraph are binding on the
parties even if the Court employs a Guidelines anafysis different from that
stipulated to herein. Furthermore, if the sentencing court accepts a
stipulation, both parties waive the right to file an appeal, collateral attack, writ,
or motion claiming that the sentencing court erred in doing so.
             11. Both parties reserve the right to oppose or move to dismiss
any appeal, collateral attack, writ, or motion barred by the preceding
paragraph and to file or to oppose any appeal, collateral attack, writ or motion
not barred by the preceding paragraph.




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